Case 1:22-cv-00252-MSG Document 353 Filed 06/17/24 Page 1 of 1 PageID #: 21117

                        MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                  1201 N ORTH M ARKET S TREET
                                         P.O. B OX 1347
                              W ILMINGTON , D ELAWARE 19899-1347
                                             (302) 658-9200
                                        (302) 658-3989 FAX
TRAVIS MURRAY
302 351 9176
tmurray@morrisnichols.com


                                             June 17, 2024


The Honorable Mitchell S. Goldberg                                          VIA ELECTRONIC FILING
United States District Court
  for the Eastern District of Pennsylvania
601 Market Street
Philadelphia, PA 19106-1797

         Re: Arbutus Biopharma Corp., et al. v. Moderna, Inc., et al., C.A. 22-252 (MSG) (D. Del.)
Dear Judge Goldberg:
        We write on behalf of Moderna regarding your Honor’s order at the June 13 hearing for
Moderna’s CEO, Mr. Stéphane Bancel, to sit for a time-limited, topic-limited deposition in
connection with Plaintiffs’ Motion to Compel (D.I. 285). We write to respectfully inform the Court
that Mr. Bancel can be available for such a deposition on June 28 in the afternoon before 5pm. We
have also let Plaintiffs know and will inform the Court if they are unable to accommodate the
deposition at that date and time, but we wanted to let the Court know as we understood an order
on this issue is currently being prepared.

                                                    Respectfully,

                                                    /s/ Travis Murray

                                                    Travis Murray (#6882)

TJM/rah

cc:      All Counsel of Record (via electronic mail)
